                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTII CAROLINA
                               SOUTHERN DMSION
                                   7:20-CR-11-D


UNITED STATES OF AMERICA                      )
                                              )
                  v.                          )                 ORDER
                                              )
WILLIAM PARAS LAMB,                           )
                                              )
                              Defendant.      )


      · On October 20, 2021, defendant moved to seal the sentencing transcript to protect private

and personal information. See [D.E. 62]; cf. [D.E. S7] (sentencing transcript). Defendant shall

submit proposed redactions of those specific portions of the sentencing transcript co'1taining

"personal and private information." The court DENIES WITHOUT PREJUDICE defendant's

motion to seal the entire sentencing transcript [D.E. 62] .

       SO ORDERED. This _M_day of October, 2021.



                                                     i        s c. DEVERm
                                                     United Sta~s District Judge




          Case 7:20-cr-00011-D Document 64 Filed 10/21/21 Page 1 of 1
